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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA                        )
                                                 )
                 v.                              )
                                                 )
 RICHARD W. GATES III,                           )             Crim. No. 17-201-2 (ABJ)
                                                 )
                 Defendant.                      )


      DEFENDANT RICHARD W. GATES III’S UNOPPOSED MOTION TO FOR
                      PERMISSION TO TRAVEL

       Defendant, by and through counsel, respectfully moves this Court to grant him

permission to travel. Mr. Gates asks the Court to grant him permission to attend two events,

specified in Exhibit 1, one of which will take place outside the jurisdiction of his release

conditions, and the other which is within the jurisdiction of his release conditions but requires an

extension to his current curfew hours in the release conditions. The Special Counsel does not

oppose this motion.

       If the Court grants the limited permission to travel to the event, Mr. Gates will promptly

provide Pretrial Services with any specific information about the trips, including the information

identified in Exhibit 1 of the sealed order.

       WHEREFORE, Mr. Gates hereby respectfully moves to grant him permission to travel

according to the limits specified above and in Exhibit 1.


                                                      Respectfully submitted,


                                                      /s/Thomas C. Green
                                                      Thomas C. Green
                                                      D.C. Bar No. 14498
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